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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


INGE UYS,

                    Plaintiff,

v.                                                  Case No. 6:20-cv-1143-CEM-EJK

COLIN ALWIN HARRIS and
COLHAR CINEMA LLC,

                    Defendants.
                                       /
                                      ORDER

      THIS CAUSE is before the Court on Defendants’ Motion to Dismiss (Doc.

51), to which Plaintiff filed a Memorandum in Opposition (Doc. 58). For the reasons

stated herein, the Motion will be denied, but the Court will sua sponte dismiss the

Second Amended Complaint (Doc. 48) as a shotgun pleading.

                                 I.    BACKGROUND

      This case involves a dispute regarding Plaintiff’s appearance as a lead actress

in a film produced by Defendants. (Doc. 48 at 2–4). Plaintiff alleges that she

auditioned for, was offered, and accepted a lead role in a film called Haima, which

was filmed by Defendants in 2013. (Id. at 3). Prior to release of the film, it was

Plaintiff’s understanding that her role would not involve any nudity but that the role

did “call[] for a short sex scene which would be tastefully shot on a closed set.” (Id.



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at 3; id. at 3–5, 8). However, Plaintiff contends that in 2016, “[w]hile watching the

[f]ilm for the first time, [she] was stunned and embarrassed to see that the [s]ex

[s]cene was not ‘tastefully’ portrayed . . . , but instead contained long, close-up, and

clear graphically visual shots of simulated sex acts,” including shots of Plaintiff’s

“naked breast.” (Id. at 14–16). Then, in or around June 2018, Plaintiff learned that

the film was “available for streaming and download via Amazon Prime” and later

that “footage from the [s]ex [s]cene was uploaded to a pornography website and

made available to the public without [Plaintiff’s] consent.” (Id. at 16).

      In June 2020, Plaintiff filed this action. (Compl., Doc. 1, at 1). Plaintiff asserts

eight counts related to her role in the film. (Doc. 48 at 16–25). Defendants move to

dismiss all counts. (See generally Doc. 51).

                                   II.      ANALYSIS

      A.     Amount in Controversy

      “Federal courts are courts of limited jurisdiction.” Burns v. Windsor Ins. Co.,

31 F.3d 1092, 1095 (11th Cir. 1994). Mindful of this, the Court must always

“zealously [e]nsure” that subject-matter jurisdiction exists “at any point in the

litigation where a doubt about jurisdiction arises.” Smith v. GTE Corp., 236 F.3d

1292, 1299 (11th Cir. 2001). Therefore, as a threshold issue, the Court will briefly

address Defendants’ argument that Plaintiff’s Second Amended Complaint fails to

satisfy the amount in controversy necessary for federal diversity jurisdiction.




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      The Second Amended Complaint states as the basis for subject matter

jurisdiction both diversity jurisdiction pursuant to 28 U.S.C. § 1332 and federal

question jurisdiction under the United States Copyright Act, 17 U.S.C. § 101, et seq.

(Doc. 48 at 2). Because this Court clearly has federal question jurisdiction over this

action, the Court need not address whether diversity jurisdiction is properly alleged.

Fabre v. Bank of Am., NA, 523 F. App’x 661, 663 n.3 (11th Cir. 2013). Further, this

Court has supplemental jurisdiction over the related state law claims pursuant to 28

U.S.C. § 1367(a).

      B.     Evidence Attached to the Motion to Dismiss

      Defendants purport to primarily move for dismissal pursuant to Federal Rule

of Civil Procedure 12(b)(6) for failure to state a claim upon which relief can be

granted. (See Doc. 51 at 7, 25, 26, 27, 28, 29). “A pleading that states a claim for

relief must contain . . . a short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Pursuant to Federal Rule of Civil

Procedure 12(b)(6), a party may move to dismiss a complaint for “failure to state a

claim upon which relief can be granted.” In determining whether to dismiss under

Rule 12(b)(6), a court accepts the factual allegations in the complaint as true and

construes them in a light most favorable to the non-moving party. See United Techs.

Corp. v. Mazer, 556 F.3d 1260, 1269 (11th Cir. 2009). Nonetheless, “the tenet that

a court must accept as true all of the allegations contained in a complaint is




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inapplicable to legal conclusions,” and “[t]hreadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009). Furthermore, “[t]o survive a motion to dismiss,

a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Id. (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id.

      Ordinarily, in deciding a motion to dismiss, “[t]he scope of the review must

be limited to the four corners of the complaint.” St. George v. Pinellas Cnty., 285

F.3d 1334, 1337 (11th Cir. 2002). The Court may look beyond the complaint if the

evidence presented is “central to the plaintiff’s claim, and . . . its authenticity is not

challenged,” SFM Holdings, Ltd. v. Banc of Am. Sec., LLC, 600 F.3d 1334, 1337

(11th Cir. 2010) (citing United States ex rel. Osheroff v. Humana, Inc., 776 F.3d

805, 811 (11th Cir. 2015)), if “documents [are] incorporated into the complaint by

reference,” Lozman v. City of Riviera Beach, 713 F.3d 1066, 1075 n.9 (11th Cir.

2013), or if there are “matters of which a court may take judicial notice,” id.

      In their Motion, Defendants attach and rely on Harris’s Declaration (Doc. 30)

and a slew of other evidence attached thereto. (See Doc. 51 at 5 n.1). Defendants

then summarily conclude—without any explanation—that Harris’s Declaration and




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the documents attached thereto “meet the standard for this exception.” (Doc. 51 at

18). First, the Court cannot divine which exception Defendants contend this

evidence falls under—whether it be documents central to the complaint, documents

incorporated into the complaint by reference, or documents that the Court may take

judicial notice of. Second, if these documents are central to Plaintiff’s claims,

Defendant does not explain why. Finally, Defendant does not explain why the

authenticity of Harris’s own declaration would not be disputed. Therefore, the Court

will not consider Harris’s Declaration or the evidence attached thereto at the motion

to dismiss stage. Medline Indus. v. Kimberly-Clark Corp., No. 1:17-CV-2032-SCJ,

2018 U.S. Dist. LEXIS 233896, at *14 n.17 (N.D. Ga. Feb. 28, 2018) (holding that

“it is not proper to consider [a] declaration[—]i.e., a matter outside the pleading and

not within the rules of judicial notice[—]in the context of a 12(b)(6) motion, as said

declaration is not central to the complaint and is disputed by Defendants” (citing

Stevens v. Osuna, 877 F.3d 1293, 1310 n.16 (11th Cir. 2017))).

      C.     Shotgun Pleading

      Defendants do not raise the argument that the Second Amended Complaint is

a shotgun pleading, but “[a] district court has the ‘inherent authority to control its

docket and ensure the prompt resolution of lawsuits,’ which includes the ability to

dismiss a complaint on shotgun pleading grounds.” Vibe Micro, Inc. v. Shabanets,

878 F.3d 1291, 1295 (11th Cir. 2018) (quoting Weiland v. Palm Beach Cnty.




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Sheriff’s Off., 792 F.3d 1313, 1320 (11th Cir. 2015)). The Eleventh Circuit defines

four types of shotgun pleadings. Weiland, 792 F.3d at 1321. “The most common

type—by a long shot—is a complaint containing multiple counts where each count

adopts the allegations of all preceding counts, causing each successive count to carry

all that came before and the last count to be a combination of the entire complaint.”

Id.; Strategic Income Fund, L.L.C. v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293,

1295 (11th Cir. 2002) (discussing “[t]he typical shotgun complaint” and explaining

that it forces “the trial court [to] sift out the irrelevancies, a task that can be quite

onerous”). The Second Amended Complaint is a clear example of the most common

type of shotgun pleading, with each count incorporating everything that comes

before it. (See, e.g., Doc. 48 at 24 (noting that Count VIII, which begins at paragraph

149, “re-alleges and re-avers paragraphs one (1) through one hundred forty-eight

(148) as though fully set forth herein”)). Therefore, the Court will dismiss the

Second Amended Complaint and allow Plaintiff an opportunity to cure this

deficiency.1 Vibe Micro, 878 F.3d at 1296 (“When a litigant files a shotgun pleading,

is represented by counsel, and fails to request leave to amend, a district court must

sua sponte give [her] one chance to replead before dismissing [her] case with

prejudice on non-merits shotgun pleading grounds.”).


       1
         Because the Court will dismiss the Second Amended Complaint as a shotgun pleading,
the Court will not address the remaining arguments in Defendants’ Motion that do not rely on
Harris’s Declaration or the attachments thereto.



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                                III.    CONCLUSION

      In accordance with the foregoing, it is ORDERED and ADJUDGED as

follows:

           1. Defendants’ Motion to Dismiss (Doc. 51) is DENIED.

           2. The Second Amended Complaint is DISMISSED without prejudice

             as a shotgun pleading.

           3. On or before May 25, 2021, Plaintiff may file a Third Amended

             Complaint. Failure to do so may result in this case being dismissed with

             prejudice.

      DONE and ORDERED in Orlando, Florida on May 11, 2021.




Copies furnished to:

Counsel of Record




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